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         219883365   E-Filed 03/28/2025 10:11:21 PM                                                     Page 1 of 16 PageID 138




                        IN THE CIRCUIT COURT OF THE NINTH JUDICIAL CIRCUIT
                                IN AND FOR ORANGE COUNTY, FLORIDA

        GARY LYONS as Personal Representative
        of THE ESTATE OF DYLAN LYONS,

                Plaintiff,                                                             CASE NO.: 2025-CA-000699-O

        v.

        CHARTER COMMUNICATIONS, INC.,
        a Foreign Profit Corporation,

              Defendant.
        __________________________________/

                         DEFENDANT’S MOTION TO DISMISS THE COMPLAINT

             Defendant CHARTER COMMUNICATIONS, INC. (“Charter”) by and through undersigned

        counsel, and pursuant to Florida Rule of Civil Procedure 1.140(b)(6) and 1.110(d), and under

        Florida Statute § 440.11, hereby files this Motion to Dismiss Plaintiff’s Complaint, with

        prejudice, because Florida’s Workers Compensation Act is Plaintiff’s exclusive remedy, and in

        support thereof states as follows:

                                                              Introduction

                This action involves a claim by Gary Lyons as Personal Representative of The Estate of

        Dylan Lyons for damages relating to a tragic incident involving Charter’s employee, Dylan

        Lyons (“Lyons”), who was fatally shot during the course and scope of his employment while

        working as a news reporter covering a story in Pine Hills, Florida. (Compl. ¶12.)

                While the loss is an appalling one, under the Florida’s Workers’ Compensation Scheme

        enacted by the Florida Legislature, Plaintiff is required to submit these claims solely through

        Workers’ Compensation. Under the statutorily prescribed mechanism for recovery under the

        Florida’s Workers’ Compensation Act, Defendant moves to dismiss Plaintiff’s Complaint



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Case 6:25-cv-00848-ACC-LHP                      Document 1-8               Filed 05/15/25            Page 2 of 16 PageID 139

                                                                                          CASE NO.: 2025-CA-000699-O


  pursuant to Florida Statutes § 440.11. Although Plaintiff’s Complaint makes a specific claim for

  “Virtual Certainty and Concealed Danger” – a clear attempt to fall under the exception to

  workers’ compensation immunity – that pleading offers only threadbare, conclusory allegations

  which fail to satisfy the high pleading standard to enable him to proceed under the very specific

  “intentional tort” exception to the workers’ compensation statute. That standard requires a

  showing that the danger is virtually certain to result in an accident every, or almost every, time.

  Plaintiff has not and cannot show that this unfortunate tragedy was an intentional tort committed

  by Charter. As such, Florida’s Workers Compensation Act is Plaintiff’s exclusive remedy and

  mandates that the Complaint against Charter be dismissed.

                                                       Background Facts

          1.          Decedent Lyons was employed by Charter as a news reporter. (Compl. ¶5.) Part

  of his duties as a news reporter was covering live events for broadcast on the television news.

  (Id. at ¶5-6.)

          2.          The Complaint alleges that on February 22, 2023, Lyons was “commanded” by

  Charter to report on location in Pine Hills, Florida, about the fatal shooting of an individual,

  Nathacha Augustin, by an unknown individual who was still at large. (Id. at ¶12.) The assailant

  was later identified as Keith Moses (“Moses”). (Id.)

          3.          While on scene hours later and reporting on the fatal shooting of Augustin, Lyons

  was shot and killed by Moses, who had apparently returned to the scene. (Id. at ¶14.)

          4.          Lyons was employed by Charter and the fatal injury occurred within the course

  and scope of his employment.

                                                    Memorandum of Law

     I.         Motion to Dismiss Standard

                                                                   2

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Case 6:25-cv-00848-ACC-LHP                  Document 1-8               Filed 05/15/25            Page 3 of 16 PageID 140

                                                                                      CASE NO.: 2025-CA-000699-O


     Florida Rule of Civil Procedure 1.110(b) "requires each claim for relief to state a cause of

  action. In addition to the jurisdictional statement and the relief sought, the complaint must

  contain a plain statement of ultimate facts establishing entitlement to relief." Pratus v. City of

  Naples, 807 So. 2d 795, 796 (Fla. 2d DCA 2002). Whether the allegations of a complaint are

  sufficient to state a cause of action is a question of law. See Siegle v. Progressive Consumers

  Insurance Co., 819 So. 2d 732 (Fla. 2002).

     The Florida Supreme Court has held that in order for a complaint to be legally sufficient, the

  plaintiff must still plead the ultimate facts to support each element of the cause of action.

  Eastern Airlines v. King, 557 So. 2d 574, 576 (Fla. 1990).                               Florida is a “fact-pleading”

  jurisdiction which requires pleading facts sufficient to support each cause of action alleged. See

  Continental Banking Co. v. Vincent, 634 So. 2d 242 (Fla. 5th DCA 1994) (noting that (1)

  Florida’s pleading requirements are more demanding than the federal “notice pleading”

  requirements, and (2) “Florida’s pleading rule forces counsel to recognize the elements of their

  cause of action and determine whether they have or can develop the facts necessary to support it,

  which avoids a great deal of wasted expense to the litigants and unnecessary judicial effort.”);

  Ranger Construction Industries, Inc. v. Martin Companies of Daytona, Inc., 881 So. 2d 677, 680

  (Fla. 5th DCA 2004)( "The Florida Rules of Civil Procedure require fact pleading.").

     For the purposes of a motion to dismiss, the well-pleaded material allegations of the

  complaint are taken as admitted, but conclusions of law or unwarranted deductions of fact are not

  admitted. Ellison v. City of Fort Lauderdale, 175 So. 2d 198, 200 (Fla. 1965). To survive a

  motion to dismiss, a plaintiff must allege more than opinions or conclusions unsupported by

  specific facts. Other Place of Miami, Inc. v. City of Hialeah Gardens, 353 So. 2d 861, 862 (Fla.

  3d DCA 1978); Okeelanta Power Limited Partnership v. Florida Power & Light Co., 766 So. 2d

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Case 6:25-cv-00848-ACC-LHP                   Document 1-8               Filed 05/15/25            Page 4 of 16 PageID 141

                                                                                       CASE NO.: 2025-CA-000699-O


  264 (Fla. 4th DCA 2000); Brandon v. County of Pinellas, 141 So. 2d 278 (Fla. 2d DCA 1962).

  The court "will not be bound by bare allegations that are unsupported or unsupportable." Other

  Place of Miami, 353 So. 2d at 862. Where a complaint fails to allege sufficient ultimate facts to

  establish each element, dismissal for failure to state a cause of action is appropriate. Condo.

  Ass’n v. Roof Servs., 119 So.3d 1288, 1290 (Fla. 4th DCA 2013).

     II.     Plaintiff’s claims do not avoid the exclusive remedy of workers’ compensation.

             A. The affirmative defense of workers’ compensation immunity is properly
                considered on a motion to dismiss

     Although worker’s compensation immunity is an affirmative defense, it may be properly

  raised by a motion to dismiss the complaint where the workers’ compensation immunity issue

  appears on the facts of the complaint. Moucha v. Burger King Corp., 450 So. 2d 335, 336 (Fla.

  5th DCA 1984) (citations omitted); See Fla. R. Civ. P. 1.110(d); Davis v. Sun First Nat. Bank of

  Orlando, 408 So. 2d 608 (Fla. 5th DCA 1981). Under Florida Rule of Civil Procedure Rule

  1.110(d) "‘Affirmative defenses appearing on the face of a prior pleading may be asserted as

  grounds for a motion . . . under Rule 1.140(b) [governing motions to dismiss] . . . .’ The purpose

  of the rule is ‘. . . to permit a motion to dismiss for failure to state a cause of action to take

  advantage of an affirmative defense appearing on the face of the pleading to which the motion is

  directed. If the pleader affirmatively shows that he has no claim in his pleading, the claim should

  be disposed of at the earliest possible stage. . . .’" Gen. Cinema Bevs. v. Mortimer, 689 So. 2d

  276, 278 (Fla. 3d DCA 1995).

     In Ramirez v. Mod. Constr. Experts, LLC, 2021 Fla. Cir. LEXIS 17707, *4-6, the Court

  found because the complaint contained allegations by the plaintiff as to a lack of worker’s

  compensation immunity, the exclusionary provisions of section 440.11, Florida Statutes were

  correctly raised in the defendant’s motion to dismiss. Id. (citing Walker v. I.T.D. Industr., Inc.,
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Case 6:25-cv-00848-ACC-LHP                        Document 1-8               Filed 05/15/25            Page 5 of 16 PageID 142

                                                                                            CASE NO.: 2025-CA-000699-O


  437 So. 2d 230 (Fla. 2nd DCA 1983); Gonzalez v. Addi Co., 444 So. 2d 1132 (Fla. 4th DCA

  1984)).

     Similarly, in Ruiz v. Aerorep Grp. Corp., 941 So. 2d 505, 507-08 (Fla. 3d DCA 2006), the

  court noted “[a]lthough workers' compensation immunity usually cannot be raised in a motion to

  dismiss, an exception exists allowing the defense to be raised in a motion to dismiss where the

  defense appears on the face of the complaint.” The Ruiz court found that the operative complaint

  specifically alleged that the incident occurred within the course and scope of employment and as

  such concluded that the trial court properly dismissed the battery claim against the defendant

  employer based on the employer’s entitlement to workers’ compensation immunity. Id.

     Here, Plaintiff’s complaint alleges facts sufficient to show the existence of a worker’s

  compensation defense and thus the issue of worker’s compensation immunity is appropriately

  decided on a motion to dismiss. Gen. Cinema Bevs. v. Mortimer, 689 So. 2d 276, 278 n.3 (Fla.

  3d DCA 1995). The allegations in the Complaint establish (1) the decedent was employed by

  Charter (Compl. ¶12) and (2) that the decedent was killed during the course and scope of his

  employment with Charter (Id.). In addition to establishing an employment relationship and that

  the incident occurred during the course and scope of employment, Plaintiff’s complaint also sets

  forth a claim for Virtual Certainty and Concealed Danger (Count II), which is a claim that on its

  face attempts to establish the “intentional tort” exception to the workers’ compensations statute.

  Thus, the worker’s compensation immunity defense appears on the face of the complaint and is

  properly raised by a motion to dismiss.

            B.          The Workers’ Compensation Act

     “When an employee's injury arises out of the course and scope of his or her employment,

  worker's compensation is the exclusive remedy for the injury, and the employer is provided with

                                                                     5

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Case 6:25-cv-00848-ACC-LHP                   Document 1-8               Filed 05/15/25            Page 6 of 16 PageID 143

                                                                                       CASE NO.: 2025-CA-000699-O


  immunity from any other liability for the injury.” Ruiz, 941 So. 2d at 507-508 (citing FCCI Ins.

  Co. v. Horne, 890 So. 2d 1141, 1143 (Fla. 5th DCA 2004); Lovin Mood, Inc. v. Bush, 687 So. 2d

  61, 62 (Fla. 1st DCA 1997)). The Florida legislature has given employees in this state a very

  clear and specific mechanism to receive payment for on-the-job injuries. The workers’

  compensation system guarantees a “quick and efficient delivery of disability and medical

  benefits to an injured worker” and “facilitate[s] the worker’s return to gainful reemployment at a

  reasonable cost to the employer.” Fla. Stat. § 440.015. This statutory scheme “is based on a

  mutual renunciation of common-law rights and defenses by employers and employees alike.” Id.

  “Injured employees who fall within the scope of this provision are to be swiftly provided

  compensation and necessary medical benefits by the employer, irrespective of fault as a cause of

  the injury.” Bakerman v. The Bombay Co., 961 So. 2d 259, 261 (Fla. 2007). The trade off in

  relation to these benefits is that the employees are barred from pursuing actions in tort for

  injuries which occur during the course and scope of their employment. Under this modified no-

  fault system, employers in compliance with the Workers’ Compensation Act are immune from

  their employees’ common law negligence actions for damages arising from work-related injuries.

  Id. at 262; see also § Fla. Stat. 440.11(1).

     The Florida’s workers’ compensation scheme provides the exclusive remedy where an

  employee is injured in the course and scope of his or her employment. Ramirez, 2021 Fla. Cir.

  LEXIS 17707, *4-6. Employers are therefore immune from liability for negligence to employees

  for injuries which occur during the course and scope of employment.                                    Id.    The only two

  exceptions to worker’s compensation immunity are “(1) when the employer fails to secure

  workers' compensation coverage, or (2) when the employer commits an intentional tort.” Id.

  (citing Gustafson's Dairy, Inc. v. Phiel, 681 So. 2d 786, 790 (Fla. 1st DCA 1996)).

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Case 6:25-cv-00848-ACC-LHP                   Document 1-8               Filed 05/15/25            Page 7 of 16 PageID 144

                                                                                       CASE NO.: 2025-CA-000699-O




     Fla. Stat. § 440.11(1)(b) sets forth the test which a court must use to analyze whether an

  action against an employee may proceed:

         (b) When an employer commits an intentional tort that causes the injury or death
         of the employee. For purposes of this paragraph, an employer's actions shall be
         deemed to constitute an intentional tort and not an accident only when the
         employee proves, by clear and convincing evidence, that:

         1. The employer deliberately intended to injure the employee; or

         2. The employer engaged in conduct that the employer knew, based on prior
            similar accidents or on explicit warnings specifically identifying a known
            danger, was virtually certain to result in injury or death to the employee, and
            the employee was not aware of the risk because the danger was not apparent
            and the employer deliberately concealed or misrepresented the danger so as to
            prevent the employee from exercising informed judgment about whether to
            perform the work.

  Fla. Stat. § 440.11(1)(b)

         Section 440.11 gives an employer “immunity from civil suit by the employee, except in

  the most egregious circumstances.” Bakerman, 961 So. 2d at 262; see also List Indus., Inc. v.

  Dalien, 107 So. 3d 470, 473 (Fla. 4th DCA 2013) (“A civil personal injury lawsuit by an

  employee against an employer under section 440.11 was intended to be the rarest of exceptions

  to the immunity granted to the employer.”).

         C.        Charter is immune from suit as Lyons’ employer.

     Plaintiff’s Complaint clearly alleges that (1) Lyons was employed by Lyons as a news

  reporter, (2) that Charter “commanded” Lyons to report on scene about the shooting of Augustin,

  and (3) that Lyons was fatally injured while he was on scene engaged in that reporting. (Id. at

  ¶5-6, 12, 14.)      It is equally clear that Lyons was injured in the course and scope of his

  employment with Charter. Because Charter is Lyons’ employer under the worker’s compensation

  statute, it is immune from suit because Lyons’ statutory compensation is the exclusive remedy.
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Case 6:25-cv-00848-ACC-LHP                     Document 1-8               Filed 05/15/25            Page 8 of 16 PageID 145

                                                                                         CASE NO.: 2025-CA-000699-O


                   i.      Plaintiff cannot meet any of the exceptions to workers’ compensation
                           immunity.

     Plaintiff does not make any allegation as to failure to procure workers’ compensation

  insurance or failure to pay benefits. The only remaining exception to workers’ compensation

  immunity is the “intentional tort” exception which is a very specific exception that the statute

  defines as encompassing two scenarios. The first scenario is when an employer deliberately

  injures an employee § 440.11(1)(b)(1), Fla. Stat.;” Unquestionably, Plaintiff cannot establish that

  Charter deliberately intended to injure Lyons, nor has Plaintiff alleged such.

     The second exception arises when an employer has specific knowledge of a specific danger:

         1.          The employer engaged in conduct that the employer knew, based on
                     similar accidents or on explicit warnings specifically identifying a known
                     danger, was virtually certain to result in injury or death to the employee;
                     and

         2.          The employee was not aware of the risk because the danger was not
                     apparent; and

         3.          The employer deliberately concealed or misrepresented the danger to
                     prevent the employee from exercising informed judgment about whether
                     to perform the work.

  Gorham v. Zachry Indus., Inc., 105 So. 3d 629, 633 (Fla. 4th DCA 2013) (citing section

  440.11(1)(b)). None of the elements of section 440.11(l)(b)(2) are present here.

                     1.    Plaintiff has failed to allege sufficient facts that Charter engaged in
                           conduct it knew was virtually certain to result in injury or death.

     First, Plaintiff has failed to allege ultimate facts to overcome the first prong. There are no

  facts concerning prior similar incidents or explicit warnings that put Charter on notice of any

  “known danger.” See generally Cutler v. Board of Regents of State of Fla., 459 So. 2d 413, 415

  (Fla. 1st DCA 1984) (dismissing the complaint where the plaintiff failed to allege ultimate facts

  supporting her conclusion that the defendants knew of prior incidents).

                                                                  8

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Case 6:25-cv-00848-ACC-LHP                   Document 1-8               Filed 05/15/25            Page 9 of 16 PageID 146

                                                                                       CASE NO.: 2025-CA-000699-O


     The workers’ compensations statute was strengthened by the legislature in 2003 to change

  the burden from “substantially certain” to “virtually certain.” The new standard took effect on

  October 1, 2003. The “virtual certainty” standard “is an extremely different and a manifestly

  more difficult standard to meet [than the previous substantial certainty standard]. It would mean

  that a plaintiff must show that a given danger will cause an accident every - or almost every -

  time.” List Indus., Inc., 107 So. 3d at 471.

     Plaintiff cannot support a claim that Charter engaged in conduct virtually certain to result in

  injury or death to Lyons. As a threshold matter, Plaintiff seeks to hold Charter liable under an

  intentional tort theory for the sudden criminal attack of a third party. Generally, unless there is a

  special relationship, there is no legal duty to protect a person from criminal attacks of third

  parties over whom it has no control. Boynton v. Burglass, 590 So.2d 446, 448 (Fla. 3d DCA

  2004) (“Florida courts have been loathe to impose liability based on a defendant’s failure to

  control the conduct of a third party.”). Moreover, even where a special relationship exists, there

  must be sufficient allegations that show that the attack was foreseeable or anticipated. Saunders

  v. Baseball Factory, 361 So. 3d 365 (Fla. 4th DCA 2023) (affirming order granting motion to

  dismiss complaint involving an aggravated battery at a baseball game where the complaint failed

  to allege facts to show that the defendant was on notice of the potential for violence”); Menendez

  v. Palms West Coast Condo. Ass’n, Inc., 736 So. 2d 58, 60 (Fla. 1st DCA 1999)( A “landowner

  should not be required to take precautions against a sudden attack which the landowner has no

  reason to anticipate.”). Here, Plaintiff has pled no ultimate facts to show that the incident was

  foreseeable, much less the more stringent standard of “virtually certain” to occur. See Black’s

  Law Dictionary Abridged Sixth Edition, p. 449 (defining foreseeability as “[t]hat which is

  objectively reasonable to expect, not merely what might conceivably occur”).

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Case 6:25-cv-00848-ACC-LHP                     Document 1-8              Filed 05/15/25             Page 10 of 16 PageID
                                                      147
                                                                                      CASE NO.: 2025-CA-000699-O


     Here, Plaintiff alleges in a conclusory fashion that “LYONS' death was a direct and

 proximate result of Defendant SPECTRUM's substantial certainty that an injury or death would

 occur.” (Compl. ¶27.) The Complaint also alleges that Charter knew or should have known

 “based on prior similar incidents or on explicit warnings identifying a known danger, Plaintiff

 LYONS was virtually certain to come in contact with the active and deadly at large shooter and

 be injured or killed.” (Id. at ¶44.) Plaintiff further alleges—with no supporting allegations

 whatsoever—that Defendant “concealed the danger from Plaintiff LYONS.” (Id. at ¶46.)

     The threadbare allegations in the Complaint do not rise to the level necessary to satisfy the

 pleading requirement to state a claim for the intentional tort exception to the workers’

 compensation scheme. Under black letter law, Plaintiff must allege sufficient ultimate facts

 which demonstrate that Charter engaged in conduct it knew was “virtually certain” to result in

 injury or death to Lyons, based on prior similar incidents or explicit warnings.

     Plaintiff has failed to meet this burden. Plaintiff has not alleged any prior similar incidents

 where an employee of Charter was shot while reporting on a news story. Plaintiff has not alleged

 that Charter was aware there was an active shooter in the area, or even aware that Moses was still

 in the area after having fled the scene following the shooting of Augustin. Plaintiff has not

 alleged that Charter was advised by any police department—or anyone at all—that there was an

 ongoing threat posed by Moses in the area; or that Charter ordered Lyons to report from a

 prohibited area or an area that had been secured and blocked off by police to the general public

 due to an active and ongoing manhunt for Moses.1 Plaintiff has failed to allege any ultimate


 1  Nor can he in good faith amend the instant Complaint to bring such allegations as they would
 be unsupported and unsupportable. In a related case filed in the United Stated District Court for
 the Middle District of Florida, filed by the Estate of Dylan Lyons against the Sheriff of Orange
 County, it is alleged by the Estate of Dylan Lyons that the crime scene was reopened to the
 public within four hours of Augustin’s shooting, a description of Moses was not distributed by
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Case 6:25-cv-00848-ACC-LHP                     Document 1-8              Filed 05/15/25             Page 11 of 16 PageID
                                                      148
                                                                                      CASE NO.: 2025-CA-000699-O


 facts whatsoever to show that Charter had reason to believe that the fatal shooting of Augustin

 was anything other than a singular targeted criminal attack, and had reason to believe that Moses

 was still in the area and would continue to shoot and kill others.

     Instead, Plaintiff alleges a generalized danger to all news reporters across the country, with

 no allegations that Charter was aware of this danger or that any of those prior incidents involved

 Charter employees or reporters in the same area where Plaintiff was injured. This does not rise

 to the level that the “given danger will cause an accident every - or almost every – time” as

 required under the statute. In short, the Complaint contains no facts to support the allegation that

 Charter knew Lyons was “virtually certain to come in contact with the active and deadly at large

 shooter and be injured or killed.” (Compl. at ¶44.)

     This attempt to circumvent the exclusive remedy set forth under Fla. Stat. §440.11 fails.

 Plaintiff cannot merely set forth conclusive allegations to overcome the extremely difficult

 standard prescribed by Florida Statute. Alleging “gross negligence”2 and “recklessness” are

 insufficient. The statute clearly requires (1) that the employer engaged in conduct which was

 virtually certain to result in injury or death to the employee; (2) the employer knew the danger of

 injury due to prior similar incidents or explicit warnings; and (3) the employee was not aware of




 police, and the presence of Moses in the area was not disclosed by police who indicated
 “everything is under control.” (See Complaint, Ex. “A” at ¶¶22-24, 28.) The court may take
 judicial notice of the fact that these allegations were made in another lawsuit. This Court may
 take judicial notice of "[r]ecords of any court of this state or of any court of the United States or
 of any state, territory, or jurisdiction of the United States." Green Tree Servicing Llc v.
 Hardmon, 2015 Fla. Cir. LEXIS 534 (Fla. Cir. Nov 13, 2015), *2 (citing Fla.
 Stat. §90.202(6)(2015); Horsley v. Feldt, 304 F.3d 1125, 1134 (11th Cir. 2002)(court may take
 judicial notice of filings in other court proceedings).
 2Plaintiff’s Complaint makes a claim for Gross Negligence (Count III). Needless to say,
 Charter denies it was either negligent or grossly negligent.
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Case 6:25-cv-00848-ACC-LHP                     Document 1-8              Filed 05/15/25             Page 12 of 16 PageID
                                                      149
                                                                                      CASE NO.: 2025-CA-000699-O


 that risk due to concealment of misrepresentation of the danger by the employer. Fla. Stat. §

 440.11. Plaintiff has failed to make this showing.

    In Ramirez v. Mod. Constr. Experts, LLC, 2021 Fla. Cir. LEXIS 17707 (Fla. 14th Cir. Ct.,

 March 29, 2021), *4-6, the court dismissed the plaintiff’s complaint, holding that the sole

 remedy for the negligence claim against the defendant was under the Florida workers’

 compensation law. Id. (citing Aguilera v. Inservices, Inc., 905 So. 2d 84, 90-91 (Fla. 2005)).

 The court noted that the complaint did not allege that the defendant failed to secure workers’

 compensation coverage or that it deliberately intended to injure the plaintiff. Id. Furthermore,

 the court found that the complaint did not “include sufficient facts to show that [the defendant]

 engaged in conduct that was virtually certain to result in [the plaintiff’s] injuries, that [the

 plaintiff] was not aware of the risk, and that [the defendant] deliberately concealed and

 misrepresented the danger.” Id. Notably, here, Plaintiff’s Complaint not only fails to allege

 sufficient facts but it also fails to allege that Charter deliberately concealed and/or

 misrepresented the danger, and further fails to allege that Plaintiff was not aware of the risk.

    Similarly in Jackson v. Wal-Mart Stores, Inc., No. 6:09-cv-777-Orl-28GJK, 2009 U.S. Dist.

 LEXIS 92070, at *4 (M.D. Fla. Oct. 1, 2009), the court granted the defendant Wal-Mart’s motion

 to dismiss based on workers’ compensation immunity where the plaintiff alleged she was injured

 while unloading a delivery truck due to a malfunctioning docking plate while working as an

 employee of Wal-Mart. The plaintiff alleged that Wal-Mart recklessly and/or intentionally failed

 to maintain the docking plate, and ignored its condition and did nothing to prevent employees

 from using it. Id. In finding that the plaintiff had failed to show an intentional tort necessary to

 establish an exception to the workers’ compensation act, the court noted that the complaint

 contained no allegations that other employees had been injured in the past using that

                                                              12

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Case 6:25-cv-00848-ACC-LHP                       Document 1-8              Filed 05/15/25             Page 13 of 16 PageID
                                                        150
                                                                                        CASE NO.: 2025-CA-000699-O


 malfunctioning docket plate and that because of the long period of use the court found that “Wal-

 Mart's continued use of the malfunctioning docking plate did not create a "virtual certainty" of

 injury or death enabling                  [the plaintiff]         to remove her claim                    from the worker's

 compensation scheme.” Id.

     In Locke v. Suntrust Bank, No. 8:05-CV-1956-T-17-MAP, 2006 U.S. Dist. LEXIS 18059, at

 *8-9 (M.D. Fla. Apr. 10, 2006), the court granted a motion to dismiss against a bank employee

 based on worker’s compensation immunity for a claim arising from an armed robbery of a bank.

 In dismissing the claim, the court held:

           First, this Court finds that the Plaintiff's injuries are casually related to her
           employment as a bank manager. The Court notes that the armed robbery of the
           Defendant's Sun Trust bank is a risk inherent in the nature of Plaintiff's
           employment. Thus, the Plaintiff's claim of negligence in dismissed with prejudice.
           Furthermore, Plaintiff's intentional tort claim is also dismissed for failing to allege
           facts from which a reasonable person would understand that the Defendant's
           conduct was substantially certain3 to result in injury or death to the Plaintiff.
           Plaintiff's allegations, even if proven, would not support an intentional tort claim
           against the Defendant. Since Plaintiff has not alleged any additional facts to
           support a cause of action against Defendant, this Court finds that a leave to amend
           Plaintiff's complaint would be futile. Based on these findings, it is clear to the
           Court that worker's compensation is the Plaintiff's exclusive remedy.

     Id.

           Similarly, here, Plaintiff’s Complaint fails to allege any ultimate facts which establish

 entitlement to an exception to the workers’ compensation statute. Plaintiff’s Complaint consists

 only of unsupported conclusory statements which fail to establish that Charter’s conduct was

 virtually certain to result in injury or death to Plaintiff. As such, Charter respectfully submits its

 Motion to Dismiss should be granted.




 3       Defendant notes that this decision was decided under the less difficult “substantially
 certain” standard.
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Case 6:25-cv-00848-ACC-LHP                     Document 1-8              Filed 05/15/25             Page 14 of 16 PageID
                                                      151
                                                                                      CASE NO.: 2025-CA-000699-O


                  2.     Plaintiff has failed to allege that Charter deliberately concealed or
                         misrepresented the danger.

    Plaintiff’s Complaint does not, and cannot, allege that Charter “deliberately concealed or

 misrepresented the danger” presented by Moses’ acts (or allegedly by the Orange County

 Sheriff’s Office) that would have prevented Lyons from “exercising informed judgment about

 whether to perform the work.” Absent such a showing, Plaintiff cannot meet the intentional tort

 exception to workers’ compensation immunity. Fla Stat. 440.11(l)(b)(2).

                                                        Conclusion

    Plaintiff’s Complaint attempts to avoid applicable immunity under workers’ compensation by

 bringing a claim for Virtual Certainty and Concealed Danger (Count II) which sets forth

 conclusory allegations which mirror the language of the exception to Florida Statute § 440.11.

 The Complaint is devoid of ultimate facts which would meet the high standard necessary to

 invoke this exception which requires virtual certainty. The general facts alleged by Plaintiff as

 to the journalism profession as a whole are insufficient to rise to the level required under Florida

 Statute § 440.11 – namely, that “a given danger will cause an accident every – or almost every –

 time.” Plaintiff has not alleged any other prior instances of criminal attacks upon Charter

 employees while on scene reporting, nor has Plaintiff alleged any facts that Charter deliberately

 concealed any danger from Plaintiff or that Lyons was unaware of any danger due to the risk

 being unapparent, concealed, or misrepresented. As such, Plaintiff’s claims are barred by the

 exclusive remedy prescribed under Florida Statute § 440.11 and the Complaint should be

 dismissed.

    WHERERFORE Defendant CHARTER COMMUNICATIONS, INC. requests this court

 grant Defendant’s Motion to Dismiss because the Workers Compensation Act is Plaintiff’s

 exclusive remedy. Charter is immune from suit under Florida Statutes § 440.11.
                                                              14

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Case 6:25-cv-00848-ACC-LHP                     Document 1-8              Filed 05/15/25             Page 15 of 16 PageID
                                                      152
                                                                                      CASE NO.: 2025-CA-000699-O


                                                 Respectfully submitted,

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                                         CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed with the

 court and furnished to counsel listed below via the Florida Courts E-Filing Portal on this 28th day

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Case 6:25-cv-00848-ACC-LHP                     Document 1-8              Filed 05/15/25             Page 16 of 16 PageID
                                                      153
                                                                                      CASE NO.: 2025-CA-000699-O


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                                                              16

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